8:05-cr-00342-LES-TDT     Doc # 83   Filed: 05/05/06   Page 1 of 1 - Page ID # 120



         IN THE UNITED STATES DISTRICT COURT FOR THE

                            DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                    8:05CR342
                              )
          v.                  )
                              )
SHIRLEY MONIZ DUEY,           )                        ORDER
                              )
               Defendant.     )
______________________________)


          This matter is before the Court on defendant’s motion

to continue trial (Filing No. 79).           The Court has now been

advised defendant wishes to enter a plea.              Accordingly,

          IT IS ORDERED that defendant’s motion to continue is

granted; a Rule 11 hearing is scheduled for:
                Friday, May 19, 2006, at 10:30 a.m.

Courtroom No. 5, Roman L. Hruska United States Courthouse, 111

South 18th Plaza, Omaha, Nebraska.         The ends of justice will be

served by continuing this case and outweigh the interests of the

public and the defendant in a speedy trial.              The additional time

between May 5, 2006, and May 19, 2006, shall be deemed excludable

time in any computation of time under the requirement of the

Speedy Trial Act.       18 U.S.C. § 3161(h)(8)(A) & (B).

          DATED this 5th day of May, 2006.

                                     BY THE COURT:

                                     /s/ Lyle E. Strom
                                     _________________________________
                                        LYLE E. STROM, Senior Judge
                                        United States District Court
